

OPINION

WEIS, Circuit Judge.
The appellant is the debtor in possession in a Chapter 13 proceeding. He seeks to set aside the sale of realty owned by him and his wife as tenants by the entireties. The appellant’s unhappiness with the sale seemingly is caused by the bankruptcy judge’s refusal to issue rulings on the validity of the option used to sell the property or the applicability of a post-nuptial agreement. Apparently, these issues have some relationship to the appellant’s divorce proceedings in Florida.
No stay was secured before an appeal was taken to the District Court, which *847dismissed the case as moot pursuant to 11 U.S.C. § 363(m). Our explanation of the mootness status of unstayed sales orders is set out in L.R.S.C. Co. v. Rickel Home Centers, Inc. (In re Rickel Home Centers, Inc.), 209 F.3d 291 (3d Cir.2000) and Krebs Chrysler-Plymouth, Inc. v. Valley Motors, Inc., 141 F.3d 490 (3d Cir.1998). In Krebs, we said, “there are two prerequisites for section 363(m) ‘statutory’ mootness: (1) the underlying sale or lease was not stayed pending the appeal, and (2) the court, if reversing or modifying the authorization to sell or lease, would be affecting the validity of such a sale or lease.” Id. at 499.
The case before us satisfies both requirements and accordingly, the appeal will be dismissed.
